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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Chambers of Martin Luther King Federal
Leda Dunn Wettre Building & U.S. Courthouse
United States Magistrate 50 Walnut Street
Judge Newark, NJ 07101
(973) 645-3574

October 27, 2017

Re: Gallagher v. Ocular Therapeutix, Inc., et al.

Civil Action No. 17-5011 §SDW[ gLDW)

Caraker v. Ocular Therapeutix, Inc., et al.
Qvil Actior_\ No. 17-5095 (SDW) (LDVl)

Kim v. Ocular Therapeutix, Inc., et al.
Civil Actio_n§o. 17-5704 (Sl_)Wl (LDW)

LETTER OPINION & ORDER
Dear Counsel:

Before the Court is the motion of defendants Ocular Therapeutix, Inc. (“Ocular”),
Amarpreet Sawhney, George Migausky, Andrew Hurley, and Eric Ankerud to transfer the
above-captioned actions to the United States Distriet Court for the District of
Massachusetts. (Civ. A. No. 17-5011, ECF No. 27).l Lead Plaintiff Movant Khaled
Ramadan opposes transfer at this time. (ECF No. 33). The motion is GRANTED for
the reasons set forth below.2

I. Background

These three actions are federal securities fraud class actions brought on behalf of
persons and entities who purchased or acquired defendant Ocular’s publicly traded
securities during certain specified periods. Ocular develops and commercializes
therapies for eye diseases and conditions. (Compl., ECF No. l at 11 7). Its prospective
lead product, not yet approved by the United States Food and Drug Administration

 

' Unless indicated otherwise, all ECF citations in this Letter Opinion & Order refer

to the filings in Gallagher v. Ocular Therapeutix, Inc. et al., Civ. A. No. 17-5011.
2 The Court decided this motion without oral argument, pursuant to Federal Rule of
Civil Procedure 78.

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(“FDA”), is DEXTENZA. (Id. 11 17). Ocular is incorporated in Delaware and has its
corporate headquarters and principal place of business in Bedford, Massachusetts.
(Declaration of Kathleen Theriault (“Theriault Decl."), ECF No. 27-2 1[3). Its sole
manufacturing facility is in Massachusetts. (Id.). The individual defendants are current

or former Ocular executives who work or reside in Massachusetts. (Id. 11 4, Compl. 1111 8-
l 1).

Plaintiffs generally allege that the FDA found issues during inspections of Ocular’s
Massachusetts manufacturing facility that could prevent FDA approval of DEXTENZA.
Ocular allegedly made public statements that were false or misleading as to these issues or
failed to disclose them. (Compl. 111] 19-22). Plaintiffs allege that when the full extent of
the manufacturing issues became public, the price of Ocular shares fell and plaintiffs
suffered damages (Id. 1111 23-26).

II. Procedural History

Plaintiff Thomas Gallagher, a resident of New Jersey (ECF No. 1-2), filed the first
of these putative class actions in July 2017. Plaintiffs Dylan Caraker and Shawna Kim
filed separate putative class actions based on the same underlying allegations shortly
thereafter (Civ. A. Nos. 17-5095 and 1'1-5704).3 Plaintiffs allege violations of § 10(b),
Rule IOb-S, and § 20(a) of the Securities Exchange Act of 1934. (Compl. 1111 1-2, 36-51).

On September 5, 2017, Gallagher moved for appointment as lead plaintiff (ECF
No. 13). On the same day, two groups of non-parties and one non-party individual moved
for the same relief: (l) the “Ocular Therapeutix Investor Group”; (2) the “Ocular Investor
Group”; and (3) Khaled Ramadan.4 (ECF Nos. 16, 17, 20). Gallagher subsequently filed
a notice of non-opposition to the other lead plaintiff motions. (ECF No. 23).

On September 20, 2017, defendants filed identical motions in each of these three
actions for transfer to the District of Massachusetts under 28 U.S.C. § l404(a). (ECF No.
27). They request that the Court rule on their application for transfer before ruling on the
pending lead plaintiff motions, in order “to afford the District Judge who Will ultimately
preside over this matter the opportunity to decide the lead plaintiff motions.” (ECF No.

 

3 Caraker resides in Indiana, and Kim resides in Arizona. (Civ. A. Nos. 17-5095,
ECF No. 1-2; 17-5704, ECF No. 1-2).

4 Non-parties Osei Peters and Glenn Stephenson also filed lead plaintiff motions, but
they later withdrew them. (ECF Nos. 18, 19, 21, 26). In any event, defendants submitted
a declaration stating that Peters and Stephenson consent to transfer. (ECF No. 34-1 1|2).
Neither Caraker nor Kim moved to be appointed lead plaintiff.

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27-1 at 1). Gallagher, the Ocular Therapeutix Investor Group, and the Ocular Investor
Group all consent to transfer and to defendants’ request that the Court decide the transfer
motion first. (Declarations of Ryan Chabot, ECF Nos. 27-3 11 3, 34-1 1111 2-3).5

Non-party lead plaintiff movant Ramadan does not consent to transfer. He
opposes the motion, arguing that the Court should rule on the lead plaintiff motions first
and then allow the lead plaintiff selected by the Court to decide whether to consent to
transfer. (ECF No. 33). He also argues that the § l404(a) factors overall weigh against
transfer at this stage of the action.

III. Analysis
A. The Order of Decision of the Motions

The Court first addresses Ramadan’s contention that it should decide the lead
plaintiff motions before ruling on the transfer motion. The Court determines that the
transfer motion should be decided first.

As an initial matter, the parties cite no authority (and the Court is aware of none)
that prescribes an order of priority in deciding concurrently pending lead plaintiff and
transfer motions, in contrast with certain groups of motions in which there is a relatively
clear order of priority. Cf Ruhrgas AG v. Marathon Or‘l Co., 526 U.S. 574, 577-78 (1999)
(noting federal courts generally determine issues relating to jurisdiction before reaching
merits issues). Therefore, the decision as to which motion to address first is a matter of
discretion that falls within the Court’s inherent power to manage its docket.

In the exercise of this discretion, the Court views the selection of a lead plaintiff as
a decision that is more appropriately made by the court that ultimately will preside over
the litigation, This is not only because the selection of a lead plaintiff may have a
significant effect on the conduct of the litigation, but also because the selection of a lead
plaintiff may turn in some respects on the application of law of the District or Circuit in
which the presiding court sits. While the Private Securities Litigation Reform Act of 1995
establishes the process for appointing a lead plaintiff, the application of its provisions to
the issues presented by lead plaintiff motions often is informed by District or Circuit
precedent See, e.g., Roofers ' Pension Fund v. Papa, Civ. A. No. 16-2805 (MLC), 2017
WL 1536222 (D.N.J. Apr. 27, 2017) (relying extensively on Third Circuit precedent in
deciding contested lead plaintiff motions). As this Court is within not only a different

 

5 Plaintiffs Caraker and Kim have not opposed the motion or submitted any position

on the order in which the Court should decide the motions.

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District but a different Circuit than the proposed transferee court, the precedent applicable
to the lead plaintiff motions may well be different. Indeed, Ramadan acknowledges this
by noting that the District of Massachusetts may require rebriefing of the lead plaintiff
motions under its court’s law upon transfer. (ECF No. 33 at 7 (“If this case were
transferred, the Massachusetts court would need to familiarize itself with the relevant
Massachusetts case law, and may even require the movants to re-brief the lead plaintiff
motions under District of Massachusetts law.”)).

It therefore seems to the Court unduly preemptive for it to decide the contested lead
plaintiff motions under this District’s and Circuit’s precedent before determining whether
the litigation should proceed here or in the District of Massachusetts. The court that will
ultimately preside over the litigation should select the lead plaintiff, and which court that
will be turns on the outcome of the transfer motion. 'l`he Court does not view this interest
as outweighed by Ramadan’s contention that in the absence of a lead plaintiff, the putative
class is not adequately represented. Nor does it view as significant that this Court has
acquired some basic familiarity with the cases during their short pendency in this District.

To the extent that Ramadan further argues that the selection of a lead plaintiff may
impact the outcome of the transfer motion, the Court disagrees It addresses these
arguments below in assessing the transfer motion.

B. The Transfer Motion

Tuming now to the transfer motion, the Court notes that a determination as to
whether to transfer a case is within its sound discretion, Cadapulr Graphic Sys., Inc. v.
Tek!rom`x, Inc., 98 F. Supp. 2d 560, 564 (D.N.J. 2000). Section l404(a) provides that
“[t]or the convenience of parties and witnesses, in the interest of justice, a district court
may transfer any civil action to any other district or division where it might have been
brought.” 28 U.S.C. § l404(a). The Court employs a two-part analysis in evaluating a
§ l404(a) motion. First, it determines “whether the transferee district has proper
jurisdiction and venue, such that the case could have been brought in the transferee district
in the first instance.” Telebrands Corp. v. Mopnado, Civ. A. No. 14-7969 (JAD), 2016
WL 368166, at * 10 (D.N.J. Jan. 12, 2016). If jurisdiction and venue would be proper in
the proposed district, the court next must engage in an “individualized, case-by-case
consideration of convenience and fairness regarding which forum is most appropriate to
consider the case.” Id. (intemal quotation marks omitted).

To determine which forum is most appropriate, “courts have considered many
variants of the private and public interests protected by the language of § l404(a).”
Jumara v. State Farm Ins. Co., 55 F.3d 873, 877 (3d Cir. 1995). The private interests

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courts consider include the following: (l) “plaintiff’s forum preference as manifested in
the original choice”; (2) “the defendant’s preference”; (3) “whether the claim arose
elsewhere”; (4) “the convenience of the parties as indicated by their relative physical and
financial condition”; (5) “the convenience of the witnesses_but only to the extent that the
witnesses may actually be unavailable for trial in one of the fora”; and (6) “the location of
books and records (similarly limited to the extent that the files could not be produced in
the alternative forum).” Id. (citations omitted). Public interest factors typically include:
(1) “the enforceability of the judgment”; (2) “practical considerations that could make the
trial easy, expeditious, or inexpensive”; (3) “the relative administrative difficulty in the two
fora resulting from court congestion”; (4) “the local interest in deciding local controversies
at home”; (5) “the public policies of the fora”; and (6) “the familiarity of the trial judge
with the applicable state law in diversity cases.” Id. at 879_80 (citations omitted).

This extensive list of factors, however, “is merely a guide, and not all the factors
may be relevant or determinative in each case.” LG Elecs., Inc. v. First In!’l. Computer,
Inc., 138 F. Supp. 2d 574, 587 (D.N.J. 2001). It is the moving party’s burden to show that
that the proposed forum is “not only adequate, but also more convenient than the present
forum.” Lawrence v. Xerox Corp., 56 F. Supp. 2d 442, 451 (D.N.J. 1999).

Here, the parties do not dispute that plaintiffs could have filed the actions in the
District of Massachusetts in the first instance. Consequently, the Court will turn to the
private and public interest factors for purposes of deciding the motion.

l. Private Interests

The private interests in this matter favor transfer. Although piaintiffs selected this
forum, their choice is entitled to little or no deference for several reasons. First,
Gallagher, Who filed the first of these actions in New Jersey and is the only named plaintiff
who resides in the State, consents to transfer. (See Chabot Decl., ECF No. 34-1 at 11 3).
Second, plaintiffs Caraker and Kim (who have not opposed transfer and are not moving for
appointment of lead plaintift) do not reside in this District, so any weight attributable to
their selection of this forum is also diminished Liggett Grp. Inc. v. R.J. Reynolds Tobacco
Co., 102 F. Supp. 2d 518, 531 (D.N.J. 2000). Finally, courts in this Circuit have held that
deference to a plaintiff’s choice of forum is lessened considerably in securities fraud class
actions. See, e.g., Yang v. Odom, 409 F. Supp. 2d 599, 606 (D.N.J. 2006); Job Haines
Home for the Aged v. Young, 936 F. Supp. 223, 230 (D.N.J. 1996); Nottenkamper v.
Modany, Civ. A. No. 14-672 (GMS), 2015 WL 1951571, at *2 (D. Del. Apr. 29, 2015).
This is particularly true here, where the class may consist of “hundreds or thousands of
members” throughout the nation (Compl. 11 28) and (as found below) this forum has no
meaningful connection to the action. See Schlenker v. Immucor, Inc., Civ. A. No. 09-4297

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(JD), 2009 WL 5033972, at *3 (E.D. Pa. Dec. 22, 2009) (finding plaintiffs choice of forum
was entitled to “little or no deference” because “[plaintiff] is but one member of a
potentially large class of individuals who could each have filed complaints in their home
districts”). Thus, the Court disagrees with Ramadan’s contention that the selection of a
lead plaintiff will affect this “preference of the parties” factor. The only potential lead
plaintiff whose choice of forum is entitled to a modicum of deference, New Jersey resident
Gallagher, consents to transfer.

The factors addressing the defendants’ preference and the convenience of the parties
clearly favor transfer. Defendants obviously prefer Massachusetts, where Ocular’s
principal place of business, headquarters, and manufacturing facility at issue in this case
are located, and where the individual defendants all work and/or reside. Ocular’s Director
of Accounting and Extemal Reporting also certifies that the non-party Ocular employees
with information relevant to plaintiffs’ claims reside or work in Massachusetts. (Theriault
Decl.‘[[1|3-7). In contrast, no party-convenience factor favors retaining the action in New
Jersey, Of the three plaintiffs who filed these actions, only one resides in New Jersey, and
he no longer actively seeks to be named lead plaintiff In any event, “the participation of
the class representative [in securities fraud class actions] is generally minimal.” J'ob
Haines Home for the Aged, 936 F. Supp. at 231.

As to where the claims arose, a factor that is significant in the transfer analysis,
defendants assert and Ramadan concedes that the claims arose in Massachusetts. (ECF
No. 33 at 7). Securities fraud claims arise in the district from which the misrepresentations
and omissions originated See, e.g., Hucmg v. Sonus Networks, Inc., Civ. A. No. 15-2407
(FLW) (LHG), 2016 WL 1090436, at *3 (D.N.J. Mar. 21, 2016); Franklin U.S. Risr`ng
Dividends Fund v. Am. Im"l Grp., Inc., Civ. A. No. 13-5805 (JLL), 2014 WL 3748214, at
*6 (D.N.J. July 29, 2014) (citing cases); Metro. L{fe Ins. Co. v. Bank One, N.A., Civ. A.
Nos. 03-1882 (SDW) and 03-2784 (SDW), 2012 WL 4464026, at *6 (D.N.J. Sept. 25,
2012). Here, the alleged misrepresentations were made at Ocular’s Massachusetts
headquarters (See ECF No. 27-1 at 6-7, Theriault Decl. 1|1] 6-7). This factor favors
transfer.

Finally, the factors relating to the convenience of witnesses and location of books
and records are neutral. The Jumara Court explained that the convenience of the
witnesses factor is relevant “only to the extent that the witnesses may actually be
unavailable for trial in one of the fora.” Jumara, 55 F.3d at 879. Here, defendants assert
that the relevant witnesses in this matter will be “the named individual defendants and other
knowledgeable Ocular employees,” (ECF No. 27-1 at 7), but the convenience of those
witnesses carries little weight. See Liggett Grp. Inc., 102 F. Supp. 2d at 534 n.l9 (“Party
witnesses are presumed to be willing to testify in either forum despite any inconvenience,

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and therefore, the relative convenience of such witnesses carries little weight.”); Gumher
v. Dependable Auto S/izppers, Inc., Civ. A. No. 12-3722, 2013 WL 247285, at *4 (E.D. Pa.
Jan. 23, 2013) (“Party witnesses or witnesses who are employed by a party, on the other
hand, have little impact on the ‘balance of convenience’ analysis since each party is
obligated to procure the attendance of its own employees for trial.”). Defendants do not
identify specifically any significant non-party witnesses whose attendance at trial could be
compelled in Massachusetts but not New Jersey, Moreover, although defendants assert
that the relevant documentary evidence in this case is at Ocular’s Massachusetts
manufacturing facility and headquarters, they do not contend that the information could
not be produced in New Jersey. Accordingly, the factors relating to the convenience of
witnesses and the location of evidence are neutral.

Overall, the private interests in this action strongly favor transfer to the District of
Massachusetts. The plaintiffs’ original choice of this forum, which is entitled to little
deference in this securities class action to begin with, is neutralized by New Jersey resident
Gallagher’s consent to transfer of the action to Massachusetts. The convenience of the
parties, the defendants’ preference and the place where the claims arose all favor transfer
to Massachusetts. The only relationship of this action to New Jersey, the residence of
plaintiff Gallagher, is not a basis to retain the action here in the face of these significant
countervailing interests

2. Public Interests

Tuming to the public interests relevant to the transfer analysis, those that apply favor
transfer to Massachusetts. The practical considerations affecting the expense and
expedition of trial strongly favor transfer, for many of the reasons detailed above with
respect to the private interests lt would be more efficient for this action to proceed in the
District of Massachusetts where ail of the defendants may be found, many non-party
Ocular witnesses reside or work, the claim arose, and the underlying FDA inspections
occurred. The District of Massachusetts also has a stronger interest in adjudicating these
actions, for the same reasons See LG Elecs., Inc., 138 F. Supp. 2d at 592 (“'l`he location
where the claim arose is also a public interest factor because local judges and juries are
preferred arbiters of events in their jurisdiction and community.”).

Finally, defendants submit evidence suggesting that the District of Massachusetts
suffers from less docket congestion than the District of New Jersey, and Ramadan concedes
that this factor favors transfer, while asserting accurately that this is not of significant
weight in the transfer analysis (ECF Nos. 27-1 at 8-9 & n.4, 27-3 11 2, 27--4).6 Although

 

6 Defendants state that the relevant evidence suggests that in a twelve-month period

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docket congestion is not a particularly important factor compared with the local interests
of each forum, see ML Design Grp., LLC v. Young Mfg. Co., Civ. A. No. 12-5 883 (MAS)
(TJB), 2013 WL 3049174, at *4 (D.N.J. June 17, 2013), it does weigh slightly in favor of
transfer here,

The remaining public interest factors are either neutral or not relevant to this case.
In summary, the private and public interests as a whole favor transferring these actions to
the District of Massachusetts.

IV. Conclusion

Therefore, for the foregoing reasons, IT IS, on this 27th day of October, 2017,

ORDERED that defendants’ motion is GRANTED and these actions shall be
TRANSFERRED to the United States District Court for the District of Massachusetts.

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Leda Dunn Wettre
United States Magistrate Judge

cc: Hon. Susan D. Wigenton, U.S.D.J.

 

ending on June 30, 2017, 13,140 cases were filed in the District of New Jersey and 3,697
cases were filed in the District of Massachusetts roughly equating to 773 cases per district
judge in the District of New Jersey and 284 cases per district judge in the District of
Massachusetts. (ECF No. 27-1 at 9 n.4). This analysis assumes that there are 17
judgeships in the District of New Jersey and 13 judgeships in the District of Massachusetts
as stated in the chart from the Administrative Office of U.S. Courts that Defendants
provided. (ECF No. 27-4).

